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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 7 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 8 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 17 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 18 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 19 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 20 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 21 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 23 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 31 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 32 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 33 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 38 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 40 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 41 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 42 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 43 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 47 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 48 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 49 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 50 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 51 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 52 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 53 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 57 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 58 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 59 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 68 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 73 of 204 Page ID
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Case 8:17-cv-01386-DOC-KES Document 16-1 Filed 10/10/17 Page 74 of 204 Page ID
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